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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


 TERRY TANT,

                Plaintiff,                                   CIVIL ACTION NO.: 4:21-cv-54

         v.

 INTERNATIONAL PAPER COMPANY,

                Defendant.



                                            ORDER

       Before the Court is a Stipulation of Dismissal With Prejudice signed and filed by both

counsel for Plaintiff and counsel for Defendant on October 6, 2021, wherein the parties stipulate

to the dismissal of this case with prejudice, with each party to bear its own attorney fees and costs.

(Doc. 22.) Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Court DISMISSES

this action WITH PREJUDICE, with each party to bear its own attorney fees and costs. The

Clerk is hereby authorized and directed to CLOSE this case.

       SO ORDERED, this 20th day of October, 2021.




                                       R. STAN BAKER
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
